             Case 2:19-cv-01613-JLR Document 24 Filed 12/30/19 Page 1 of 22




 1                                                           THE HONORABLE JAMES L. ROBART

 2

 3

 4

 5                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 6                                        AT SEATTLE

 7
     BRADY EDMONDS, on behalf of himself
 8   and those similarly situated,                           No. 2:19-cv-01613-JLR
                                   Plaintiff,
 9                                                           PLAINTIFF’S FIRST AMENDED
            v.                                               NATIONWIDE COLLECTIVE
10                                                           ACTION COMPLAINT
     AMAZON.COM, INC., a Foreign for Profit
11   Corporation; AMAZON LOGISTICS, INC.,                    DEMAND FOR JURY TRIAL
     a Foreign for Profit Corporation;
12   AMAZON.COM SERVICES, INC., a
     Foreign for Profit Corporation;
13
                                        Defendants.
14

15
             Plaintiff, BRADY EDMONDS on behalf of himself and those similarly situated, by
16
     and through undersigned counsel, files this First Amended Complaint against Defendants,
17
     AMAZON.COM,           INC.     (“ACI”),     AMAZON          LOGISTICS,         INC.        (“ALI”),      and
18
     AMAZON.COM SERVICES, INC. (“ACS”, together with ACI and ALI, “Amazon” or
19

20   “Defendants”) and states as follows:

21
                                       I. NATURE OF THE CASE
22
             1.      Amazon is the largest digital retailer in the United States, recently becoming
23
     the second company in world history to reach $1 trillion in value. 1 In the second quarter of
24

25
     1
      See, Amazon Just Became the Second Company to Reach $1 Trillion, http://time.com/money/5386380/amazon‐
26   1‐trillion‐jeff‐bezos‐net‐worth.
     Plaintiffs First Amended Nationwide Collective                   TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 1                                                    936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                          Seattle, Washington 98103-8869
                                                                             MORGAN & MORGAN, P.A.
                                                                            8151 Peters Road, Suite 4000
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 1   2019 alone, Amazon’s net sales were $63.4 billion, compared with $52.9 billion in the second

 2   quarter of 2018.2 Naturally, “the number of packages that Amazon needs to . . . handle has
 3
     doubled in the past five years to about 1.2 billion” packages per year.3
 4           2.       Amazon prides itself on being a company that is “customer obsessed.” For that
 5
     reason, Amazon has taken greater control over its deliveries in order to ensure customer
 6
     satisfaction—control that it previously lacked when utilizing traditional delivery channels
 7

 8   such as FedEx and UPS. In order to take greater control over its delivery processes, Amazon

 9   created its own delivery channel.
10           3.       As a central part of its delivery and logistics business, Amazon contracts with
11
     incorporated delivery service providers (“DSPs”) all around the country, through its Delivery
12
     Service Provider (“DSP”) program, and their employees, in order to handle the influx of
13
     customer orders, and to retain control over every aspect of the delivery process.
14
             4.       These DSPs, in turn, hire drivers like Plaintiff to deliver the Amazon packages
15

16   within the DSP’s service areas.

17           5.       However, even though Plaintiff and the other drivers were nominally employed
18   through DSPs, Amazon directed and controlled Plaintiff and other drivers, dictating nearly
19
     every aspect of their delivery work. See infra.
20
             6.       As such, Amazon jointly employed Plaintiff and these other similarly situated
21
     drivers and is liable for wage and hour compliance for these drivers.
22

23

24   2
       See Amazon Press Release to Investors, https://ir.aboutamazon.com/news‐releases/news‐release‐
     details/amazoncom‐announces‐second‐quarter‐sales‐20‐634‐billion.
25   3
       See Amazon is forging further into deliveries, https://www.businessinsider.com/amazon‐launches‐delivery‐
     service‐partner‐program‐2018‐6.
26
     Plaintiffs First Amended Nationwide Collective                      TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 2                                                     936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                            Seattle, Washington 98103-8869
                                                                                 MORGAN & MORGAN, P.A.
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 1           7.       This lawsuit arises under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

 2   (“FLSA”) for Amazon’s failure to pay Plaintiff and other similarly situated drivers overtime
 3
     wages for all time worked in excess of forty hours in a workweek in violation of the
 4
     FLSA.
 5
             8.       Plaintiff brings this suit as a collective action pursuant to Section 216(b) of the
 6
     FLSA and seeks to include all drivers who worked for Defendants through DSPs except those
 7

 8   based in the state of Washington.

 9           9.       The Fair Labor Standard Act of 1938, 29 U.S.C. § 201 et, seq. (“FLSA”) was
10   enacted to ensure “the maintenance of the minimum standard of living necessary for health
11
     efficiency, and general well‐being of workers.” 29 U.S.C. § 202(a).
12
             10.      The FLSA establishes minimum wage and overtime requirements for covered
13
     employees to achieve this broad remedial purpose. 29 U.S.C. §§ 206, 207.
14
             11.      These provisions, and the private right of action granted to employees, prevent
15

16   employers from pilfering rightfully earned wages of employees.               See Billingsley v. Citi

17   Trends Inc., 2014 WL 1199501 (11th Cir. Mar. 25, 2014).
18           12.      As a non‐exempt employee, Plaintiff is entitled to applicable overtime wages
19
     for each week he was suffered and permitted to work more than 40 hours by Amazon.
20
     Freeman v. Key Largo Volunteer Fire & Rescue Dept., Inc., 494 Fed. Appx. 940, 942 (11th
21
     Cir. 2012), cert. denied, 134 S.Ct. 62 (U.S. 2013) (“To be ‘employed’ includes when an
22

23   employer ‘suffer[s] or permit[s] the [employee] to work’”).

24           13.      Amazon failed to pay Plaintiff and similarly situated drivers for all overtime
25   hours worked pursuant to a policy applicable to Plaintiff and similarly situated drivers,
26
     Plaintiffs First Amended Nationwide Collective                TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 3                                               936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                      Seattle, Washington 98103-8869
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 1   whereby Amazon required its DSPs to hire drivers as employees through the DSPs, not

 2   Amazon.
 3           14.      As further explained below, Amazon jointly employed these drivers and is
 4
     liable for overtime compensation owed to Plaintiff and the similarly situated drivers.
 5
             15.      Amazon’s policies, practices, and conduct violate the FLSA, which requires
 6
     non‐exempt employees, such as the Plaintiff and other similarly situated drivers, to be
 7

 8   compensated for their overtime work at a rate of one and one‐half times their regular rate of

 9   pay and also to receive at least the federally mandated minimum wage per week. See 29
10   U.S.C.§§ 206, 207(a).
11           16.      Plaintiff BRADY EDMONDS brings this collective action to recover the
12
     unpaid overtime and minimum wages owed to him and all other similarly situated drivers
13
     employed by Amazon through DSPs nationwide.
14

15           17.      Plaintiff BRADY EDMONDS’s consent to join this Section 216(b) collective

16   action is being filed contemporaneously with this action.
17                                        II. JURISDICTION AND VENUE
18
             18.       Jurisdiction in this Court is proper as the claims are brought pursuant to the
19
     Fair Labor Standards Act, as amended (29 U.S.C. § 201, et seq., hereinafter called the
20
     “FLSA”) to recover unpaid back wages, an additional equal amount as liquidated damages,
21

22   obtain declaratory relief, and reasonable attorneys’ fees and costs.

23           19.       This Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 28
24   U.S.C.§ 1331, arising under 29 U.S.C. § 216(b).
25
26
     Plaintiffs First Amended Nationwide Collective              TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 4                                             936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                    Seattle, Washington 98103-8869
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 1           20.       Venue is proper in this judicial district because Defendants maintain their

 2   principal place of business within this judicial district, and the decisions to implement the
 3
     policies and practices complained of herein were made within this judicial district.
 4
                                                      III. PARTIES
 5
             21.      Plaintiff, Brady Edmonds, worked for Amazon as a driver from June 2018
 6
     through February 2019.
 7

 8           22.      Mr. Edmonds regularly worked 10-15 hours per day and between 4-5 days per

 9   week. But there were weeks where Mr. Edmonds worked six days.
10           23.      As a result Mr. Edmonds worked at least forty hours per week and worked
11
     over fifty hours per week virtually every workweek. Mr. Edmonds shifts were generally not
12
     less than ten hours.
13
             24.      Typically, Mr. Edmonds began working at approximately 7:00 a.m. and
14

15   completed his delivery route between 6:00 p.m. and 7:00 p.m.

16           25.      Additionally, during the workweeks leading up to the holidays, Mr. Edmonds

17   worked more than ten hours each shift. One night, Mr. Edmonds did not finish his delivery
18   route until 12:00 a.m.
19
             26.      Neither Amazon nor the DSP through whom Mr. Edmonds was paid, paid him
20
     overtime compensation for hours worked beyond forty in a workweek.
21
             27.      For example, during his first week on the job, Mr. Edmonds worked at least
22

23   five ten-hour shifts or a total of at least fifty hours of work. Even though Mr. Edmonds

24   worked ten or more hours of overtime that week, neither Amazon nor the DSP that paid Mr.

25   Edmonds paid any overtime compensation to him.
26
     Plaintiffs First Amended Nationwide Collective                  TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 5                                                 936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                        Seattle, Washington 98103-8869
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 1            28.     Plaintiff performed work for Amazon in the greater Jacksonville, Florida area.

 2            29.     Plaintiff’s job as a driver was to take goods that had been transported in
 3
     interstate commerce and deliver them to customers of Amazon.
 4
              30.     At all times relevant hereto, Plaintiff Brady Edmonds has been a current or
 5
     former “employee” of Amazon as that term is defined by the FLSA, 29 U.S.C. § 201 et seq,
 6
     because Amazon suffered and permitted him to work delivering its packages to Amazon
 7

 8   customers in connection with their purchases from Amazon.com, controlled in whole or in

 9   part by Amazon.
10            31.     Defendant Amazon.com, Inc. is a foreign corporation that has its principal
11
     place of business at 410 Terry Ave N, Seattle, Washington 98216.
12
              32.     ACI conducts business in this county, as well as nationwide, and is therefore
13
     within the jurisdiction of this Court.
14

15            33.     ACI, may be served with process upon its registered agent in this state,

16   Corporation Service Company, at 300 Deschutes Way SW, Suite 304, Tumwater, Washington

17   98501.
18            34.     Defendant Amazon Logistics, Inc., is a foreign corporation that has its
19
     principal place of business at 410 Terry Ave N, Seattle, Washington 98216.
20
              35.     ALI conducts business in this county, as well as nationwide, and is therefore
21
     within the jurisdiction of this Court.
22

23            36.     ALI, may be served with process upon its registered agent in this state,

24   Corporation Service Company, at 300 Deschutes Way SW, Suite 304, Tumwater, Washington

25   98501.
26
     Plaintiffs First Amended Nationwide Collective              TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 6                                             936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                    Seattle, Washington 98103-8869
                                                                         MORGAN & MORGAN, P.A.
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 1             37.    Defendant Amazon.com Services, Inc., is a foreign corporation that has its

 2   principal place of business at 410 Terry Ave N, Seattle, Washington 98216.
 3
               38.    ACS conducts business in this county, as well as nationwide, and is therefore
 4
     within the jurisdiction of this Court.
 5
               39.    ACS, may be served with process upon its registered agent in this state,
 6
     Corporation Service Company, at 300 Deschutes Way SW, Suite 304, Tumwater, Washington
 7

 8   98501.

 9             40.    On information and belief, Amazon.Com, Inc., Amazon Logistics, Inc., and
10   Amazon.Com Services, Inc., acted in all respects material to this action as the agent of the
11
     other and carried out a joint scheme, business plan, or policy in material respects hereto.
12
               41.    Accordingly, the acts of Amazon.Com, Inc., Amazon Logistics, Inc., and
13
     Amazon.Com Services, Inc., are legally attributable to each other.
14

15             42.    The unlawful acts alleged in this Complaint were committed by Defendants

16   and/or Defendants’ officers, agents, employees, or representatives, while actively engaged in

17   the management of Defendants’ business or affairs and with the authorization of the
18   Defendants.
19
                                            IV. FLSA COVERAGE
20
            A.       Employment Relationship
21
               43.   The FLSA defines the term “employer” to broadly include “any person acting
22

23   directly or indirectly in the interest of an employer in relation to any employee.” 29 U.S.C.

24   203(d).
25             44.   On information and belief, Defendant Amazon.com, Inc., is the parent
26
     Plaintiffs First Amended Nationwide Collective              TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 7                                             936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                    Seattle, Washington 98103-8869
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 1   corporation of Amazon.com Services, Inc. (formerly Amazon.com, LLC), as well as Amazon

 2   Logistics, Inc., and together they operate one of the largest, if not the largest, ecommerce and
 3
     logistics company in the world.
 4
             45.      Through the operation of the Amazon.com website (www.amazon.com)
 5
     customers throughout the United States can and do purchase goods and/or materials that are
 6
     then shipped throughout the United States to each customer’s address.
 7

 8           46.      In addition, Amazon is in the business of providing delivery service to

 9   customers, and that is the service that delivery drivers, such as Plaintiff, provide. The drivers’
10   services are fully integrated into Amazon’s business and managed by Amazon due to the level
11
     of control and oversight utilized by Amazon.
12
             47.      Workers who effectuate the delivery of Amazon’s customers’ orders, such as
13
     the drivers here, are integral to Amazon’s business and must be managed by Amazon to ensure
14

15   the fluid and consistent flow of deliveries to customers.

16           48.      To ensure the highest customer service, satisfaction, and companywide

17   uniformity, Amazon dictates and directly manages the work of Plaintiff and other local
18   delivery drivers’ or driver associates’ (the term used by Amazon) employment in numerous
19
     ways by, among other things:
20
                   a. requiring all drivers to submit to an Amazon background check;
21
                   b. participating in the decision to hire delivery drivers;
22

23                 c. providing training materials and training all drivers;

24                 d. requiring all drivers wear Amazon branded clothing;

25                 e. dictating the manner and type of clothing drivers wear;
26
     Plaintiffs First Amended Nationwide Collective                 TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 8                                                936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                       Seattle, Washington 98103-8869
                                                                            MORGAN & MORGAN, P.A.
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 1                 f. determining the make, model, and style of delivery van to be used

 2                 g. while delivering packages;
 3
                   h. on information and belief, providing financing to purchase delivery vans;
 4
                   i. requiring delivery vans contain Amazon insignia and logos (except when extra
 5
                      trucks are rented due to volume exceeding capacity during the busy season);
 6
                   j. requiring drivers to arrive at and load and unload Amazon packages
 7

 8                 k. from Amazon owned fulfillment and warehouse centers for delivery;

 9                 l. monitoring the performance of pre-trip and post-trip delivery van inspections;
10                 m. requiring packages to be delivered to Amazon customers according to an exact
11
                      schedule that dictates the order of delivery and provides the exact route to
12
                      utilize;
13
                   n. requiring drivers to report problems delivering packages directly to Amazon;
14

15                 o. controlling the method and manner of troubleshooting delivery issues;

16                 p. tracking delivery performance including but not limited to the number of

17                    packages delivered each day, the location of the driver at any given time, and
18                    the efficiency of the deliveries as reported through Amazon handheld devices
19
                      or the Amazon Flex application for smart phones
20
                   q. supervising the work of each driver on a daily basis;
21
                   r. evaluating the performance of each driver on a periodic basis in accordance
22

23                    with Amazon specific policies and procedures; and

24                 s. disciplining drivers up to and including termination.

25           49.     The DSPs who contract with Amazon exist for the common business purpose of
26
     Plaintiffs First Amended Nationwide Collective               TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 9                                              936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                     Seattle, Washington 98103-8869
                                                                          MORGAN & MORGAN, P.A.
                                                                         8151 Peters Road, Suite 4000
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 1   providing local or last‐mile delivery services to Amazon as an integral part of Amazon’s

 2   business operation delivering Amazon packages directly to their customers.
 3
             50.     Stated differently, the DSPs provide a delivery driver labor force to Amazon to
 4
     further Amazon’s core business objective of providing delivery service to Amazon customers.
 5
             51.     On information and belief, the DSPs are directly and solely dependent on their
 6
     delivery contracts with Amazon.
 7

 8           52.     On information and belief, most if not all of the DSPs exclusively service

 9   Amazon full time and have no other clients.
10           53.     On information and belief, the DSPs are solely dependent on payments made by
11
     Amazon to make regularly scheduled payroll to the Plaintiff and similarly situated delivery
12
     drivers.
13
             54.     On information and belief, each DSP was required to execute a standard
14

15   Amazon agreement that required the DSP to hire drivers as W‐2 employees.

16           55.     Ostensibly, this was done so Amazon could/can shift wage and hour compliance

17   from Amazon to the DSPs for its drivers.
18
             56.     In this regard, the DSPs are little more than an administrator or employee
19
     leasing company for Amazon and an independent contractor in name only, dictating to driver
20
     the policies and directives of Amazon in accord with the agreement.
21
             57.     Drivers, like Plaintiff, and DSPs in general, are not required to have any special
22

23   skills; the delivery of Amazon packages is the only service provided by drivers.

24           58.     Because a major and core business objective of Amazon is to provide delivery
25   services, Amazon cannot operate its business without the drivers.
26
     Plaintiffs First Amended Nationwide Collective               TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 10                                             936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                     Seattle, Washington 98103-8869
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 1           59.     Plaintiff and similarly situated delivery drivers are dependent on Amazon, at a

 2   minimum, because Amazon provides: (i) all of the packages to deliver as part of its core
 3
     business; (ii) delivery instructions including when, where, how and in what order to deliver
 4
     the packages; (iii) delivery support in the event there is an issue delivering a particular
 5
     package; and (iv) payment of wages through Amazon’s payments under the delivery contracts
 6
     with the DSPs.
 7

 8           60.     On information and belief, Amazon keeps an employee file for each driver that

 9   includes contact information, employment information, history of complaints/issues for that
10   driver, training records of the driver, on and off duty time, and information on the vehicle
11
     each driver operated in order to make deliveries.
12
             61.     Defendants are employers as defined under the FLSA.
13
             62.     “To be ‘employed’ includes when an employer ‘suffer[s] or permit[s] [the
14

15   employee] to work.’” See Freeman v. Key Largo Volunteer Fire & Rescue Dept., Inc., 494

16   Fed. 16 Appx. 940, 942 (11th Cir. 2012), cert. denied, 134 S.Ct. 62 (U.S. 2013).

17           63.     Plaintiff and the proposed class members were employed by Defendants.
18           64.     Specifically, Plaintiff and the proposed class members were suffered and
19
     permitted to work unloading Amazon packages and delivering those packages on behalf of
20
     and for the sole benefit of Amazon.
21
             65.     Defendants jointly employed Plaintiff and proposed opt‐in plaintiffs as local or
22

23   last‐mile delivery drivers at various locations throughout the United States.

24
            B.       Enterprise and Individual Coverage
25
             66.     “The [FLSA] requires an employer to pay overtime compensation to an hourly
26
     Plaintiffs First Amended Nationwide Collective              TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 11                                            936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                    Seattle, Washington 98103-8869
                                                                         MORGAN & MORGAN, P.A.
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 1   worker if the employee can establish individual or enterprise coverage.” Silver v. Dr. Neal

 2   Krouse, D.O., P.A., 2007 WL 4098879 *2 (S.D. Fla. Nov. 16, 2017) (citing Thorne v. All
 3
     Restoration Svcs., Inc., 448 F.3d 1264, 1265 (11th Cir. 2006)).
 4
             67.     Amazon.com, Inc. is an enterprise as defined within section 3(r)(1) of the FLSA.
 5
     See supra paras. 37‐40.
 6
             68.     Amazon Logistics, Inc. is an enterprise as defined within section 3(r)(1) of the
 7

 8   FLSA. Id.

 9           69.     Amazon.Com Services, Inc. is an enterprise as defined within section 3(r)(1) of
10   the FLSA. Id.
11
             70.     Amazon.com, Inc., Amazon Logistics, Inc., and Amazon.com Services, Inc. are
12
     together an enterprise as defined with section 3(r)(1) of the FLSA. Id.
13
             71.     FLSA enterprise coverage requires that an enterprise have “employees engaged
14

15   in commerce or in the production of goods for commerce” or have “employees handling,

16   selling, or otherwise working on goods or materials that have been moved in or produced for

17   commerce.” 29 U.S.C. § 203(s)(1)(A) (emphasis added); see also Polycarpe. v. E&S
18   Landscaping Serv., Inc., 616 F.3d 1217, 1222‐26 (11th Cir. 2010).                  Additionally, the
19
     enterprise must have greater than $500,000 in “annual gross volume of sales made or business
20
     done.” Daniel v. Pizza Zone Italian Grill & Sports Bar, Inc., 2008 WL 793660, at *2 n.6
21
     (M.D. Fla. Mar. 24, 2008). Because nearly all goods and materials are moved in or produced
22

23   via interstate commerce, “virtually every business meeting the annual gross value

24   requirement” is subject to enterprise coverage. Id.
25           72.     At all material times, Amazon has been an enterprise in commerce or in the
26
     Plaintiffs First Amended Nationwide Collective              TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 12                                            936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                    Seattle, Washington 98103-8869
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 1   production of goods for commerce and has had at least two employees who handle or work on

 2   goods or materials that have been moved in or produced for commerce. 29 U.S.C. § 203(s).
 3
             73.     Amazon provides the last mile or local delivery of products and goods that are
 4
     purchased from Amazon.com, the leading online retailer in the United States.
 5
             74.     Amazon is engaged in commerce, and Plaintiff and all those similarly situated
 6
     regularly handle goods or materials that have been moved in or produced for commerce when
 7

 8   delivering orders purchased on www.amazon.com.

 9           75.     At all times relevant hereto, each Defendant had an annual gross volume of
10   sales or did business of more than $500,000.00 per year.
11
             76.     Collectively, at all times relevant hereto, Defendants had an annual gross
12
     volume of sales or did business of more than $500,000.00 per year.
13
             77.     Therefore, at all material times relevant to this action, each Defendant was an
14

15   enterprise under the FLSA as defined by 29 U.S.C. §§ 203(r) and 203(s).

16
            C.       Wage Violations
17
             78.     Plaintiff and the other drivers regularly worked more than 40 hours per week.
18
             79.     Indeed, in virtually all workweeks Plaintiff worked 50 hours per week or more.
19
             80.     Plaintiff and the other drivers were only paid a flat rate with no additional
20

21   overtime compensation paid for their overtime hours worked.

22           81.      For example, during his first week on the job, Mr. Edmonds worked at least

23   five ten-hour shifts for a total of at least fifty hours of work. Even though Mr. Edmonds
24   worked ten or more hours of overtime that week, neither Amazon nor the DSP that hired Mr.
25
     Edmonds paid any overtime compensation to him.
26
     Plaintiffs First Amended Nationwide Collective              TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 13                                            936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                    Seattle, Washington 98103-8869
                                                                        MORGAN & MORGAN, P.A.
                                                                       8151 Peters Road, Suite 4000
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 1           From June 2018 through February 2019, Plaintiff worked over 40 hours per week in

 2           virtually every workweek. Despite his overtime hours worked, Plaintiff was not paid
 3
             any overtime premiums, in violation of the FLSA.
 4
             82.     Under the FLSA, workers paid such flat rates are entitled to additional overtime
 5
     compensation for overtime hours worked.
 6
             83.     Plaintiff and the similarly situated drivers here each drove vehicles during their
 7

 8   employment with Amazon that had a Gross Vehicle Weight Rating of less than 10,000

 9   pounds.
10           84.     The flat rates paid to drivers failed to compensate each of those drivers at a rate
11
     of one and one half times the driver’s regular hourly wage for hours worked in excess of forty
12
     hours per week, in violation of 29 U.S.C. § 207(a)(1).
13
             85.     Amazon failed to keep accurate records of the hours that Plaintiff and those
14

15   similarly situated worked each week.

16
                              V. COLLECTIVE ACTION ALLEGATIONS
17
             86.     Plaintiff brings this lawsuit pursuant to section 216(b) of the FLSA as a
18
     collective action on behalf of himself and the following class:
19
             All drivers or driver associates who were paid a “flat rate” and who
20           delivered for Amazon anywhere in the United States other than the state of
21           Washington within the three-year period preceding the filing of this Complaint
             (the “Class”).
22
             87.     Plaintiff and Class members have all been subjected to the same policies that
23
     violate the FLSA, namely they have been paid flat rates each week with no premium
24
     compensation for overtime hours worked.
25
26           88.     Plaintiff and the Class members are similarly situated in their claims against
     Plaintiffs First Amended Nationwide Collective               TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 14                                             936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                     Seattle, Washington 98103-8869
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 1   Defendants because their claim that Defendants employed or jointly employed them rely on a

 2   common set of facts regarding Defendants’ control over their employment.
 3
             89.     Plaintiff and similarly situated employees worked for Defendants delivering
 4
     items purchased to customers who purchased those items from Amazon.
 5
             90.     Amazon jointly employees Plaintiff and the Class members to perform a service
 6
     integral to Amazon’s business: the delivery of packages. See supra.
 7

 8           91.     Plaintiff and Class members regularly worked in excess of forty hours in

 9   individual workweeks.
10           92.     Before driving their routes, Plaintiff and Class members were routinely required
11
     to unload Amazon trucks each day and load the Amazon vans prior to the start of their routes.
12
             93.     Amazon failed to pay Plaintiff and Class members anything whatsoever for the
13
     time spent unloading the Amazon trucks and loading the Amazon vans before driving their
14

15   designated route, typically two or more hours of work.

16           94.     Plaintiff and the Class were paid “flat rates” based on the number of days they

17   worked, irrespective of the number of hours they worked each week.
18           95.     Amazon failed to pay Plaintiff and Class members the overtime premium of one
19
     and a half times their regular rate of pay for all time worked in excess of forty hours in
20
     individual workweeks.
21
             96.     Amazon, through its common policies, dictated the manner and means in which
22

23   Plaintiff and the Class performed their jobs. See supra.

24           97.     Plaintiff and the Class are owed overtime wages by Amazon.

25           98.     The specific job titles or precise job responsibilities of each Class member do
26
     Plaintiffs First Amended Nationwide Collective              TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 15                                            936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                    Seattle, Washington 98103-8869
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 1   not prevent collective treatment.

 2            99.    All Class members, irrespective of their job requirements, are entitled to
 3
     overtime compensation for hours worked in excess of forty per workweek.
 4
              100. All Class members, irrespective of the DSPs through whom they were
 5
     employed by Amazon, are entitled to overtime compensation for hours worked in excess of
 6
     forty per workweek.
 7

 8            101. Although the exact amount of damages may vary across Class members, the

 9   damages for Class members can be easily calculated by a formula.
10            102. The claims of all Class members arise from a common nucleus of facts.
11
              103. Liability is based on a systematic course of wrongful conduct by Amazon
12
     through the policies and practices described above that caused harm to all Class members.
13
              104. These policies and practices were uniformly applicable to Plaintiff and the Class
14

15   and did not depend on any driver’s personal circumstances.

16            105. Rather, the same policies and practices that resulted in the non‐payment of

17   overtime to Plaintiff applied and continue to apply to all Class members, regardless of which
18   DSP they were paid through.
19
              106. Amazon knowingly, willfully, or with reckless disregard carried out its illegal
20
     pattern or practice of failing to pay overtime compensation with respect to Plaintiff and the
21
     Class.
22

23            107. Amazon did not act in good faith or reliance on any of the following in

24   formulating its pay practices: (a) case law, (b) the FLSA, 29 U.S.C. § 201, et seq., (c)

25   Department of Labor Wage & Hour Opinion Letters or (d) the Code of Federal Regulations.
26
     Plaintiffs First Amended Nationwide Collective             TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 16                                           936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                   Seattle, Washington 98103-8869
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 1           108. During the relevant period, Amazon violated § 7(a)(1) and § 15(a)(2) by

 2   employing employees in an enterprise engaged in commerce or in the production of goods for
 3
     commerce within the meaning of the FLSA for one or more workweeks without compensating
 4
     such employees for their work at a rate of at least the time‐and‐one‐half for all hours worked
 5
     in excess of 40 hours in a workweek.
 6
             109. Amazon has acted willfully in failing to pay Plaintiff and the Class members in
 7

 8   accordance with the law.

 9           110. Amazon has failed to maintain accurate records of Plaintiff’s and the Class
10   members’ work hours in accordance with the law.
11
             111. Federal law mandates that an employer is required to keep for three years all
12
     payroll records and other records containing, among other things, the following information:
13
                      a.      The time of day and day of week on which the
14

15                            employees’ workweek begins;

16                    b.      The regular hourly rate or pay for any workweek in

17                            which overtime compensation is due under section 7(a)
18                            of the FLSA;
19
                      c.      An explanation of the basis of pay by indicating the
20
                              monetary amount paid on a per hour, per day, per week,
21
                              or other basis;
22

23                    d.      The amount and nature of each payment that, pursuant to

24                            section 7(e) of the FLSA, is excluded from the “regular

25                            rate”;
26
     Plaintiffs First Amended Nationwide Collective              TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 17                                            936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                    Seattle, Washington 98103-8869
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 1                    e.      The hours worked each workday and the total hours

 2                            worked each workweek;
 3
                      f.      The total daily or weekly straight time earnings or wages
 4
                              due for hours worked during the workday or workweek,
 5
                              exclusive or premium overtime compensation;
 6
                      g.      The total premium for overtime hours, which excludes
 7

 8                            the straight‐time earnings for overtime hours recorded

 9                            under this section;
10                    h.      The total additions to or deductions from wages paid
11
                              each pay period including employee purchase orders or
12
                              wage assignments;
13
                      i.      The dates, amounts, and nature of the items that make up
14

15                            the total additions and deductions;

16                    j.      The total wages paid each pay period; and

17                    k.      The date of payment and the pay period covered by
18                            payment. 29 C.F.R. §§ 516.2, 516.5.
19
             112. Amazon has not complied with federal law and has failed to maintain such
20
     records with respect to Plaintiff and the Class.
21
             113. Because Amazon’s records are inaccurate or inadequate, Plaintiff and Class
22

23   members can meet their burden under the FLSA by proving that they, in fact, performed work

24   for which they were improperly compensated, and produce sufficient evidence to show the

25   amount and extent of the work “as a matter of a just and reasonable inference.” See, e.g.,
26
     Plaintiffs First Amended Nationwide Collective                 TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 18                                               936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                       Seattle, Washington 98103-8869
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 1   Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687 (1946).

 2
                                                      VI. COUNT I
 3
                                  Violation of the FLSA—Overtime Wages
 4
                      Plaintiff on behalf of himself and similarly situated employees
 5

 6           114. Plaintiff incorporates and re‐alleges paragraphs 1 through 113 as though set

 7   forth herein.

 8           115. Amazon has violated the FLSA by its failure to pay Plaintiff and Class
 9
     members one and a half times their regular rate of pay for all time worked in excess of forty in
10
     a workweek.
11
             116. Amazon directed Plaintiff to work, and Plaintiff did work, in excess of forty
12
     hours in individual workweeks within the three years before the filing of this lawsuit.
13

14           117. Amazon also directed Class members to work in excess of forty hours in

15   individual workweeks within the three years before the filing of this lawsuit.
16           118. Plaintiff and the Class are entitled to be paid overtime wages for all time
17
     worked in excess of forty hours in individual workweeks.
18
             119. Amazon did not pay Plaintiff and the Class overtime wages for all time worked
19
     in excess of forty hours in individual workweeks.
20

21           120. Amazon’s failure to pay Plaintiff and the Class overtime wages for all time

22   worked in excess of forty hours in individual workweeks was a violation of the FLSA.

23           121. Amazon failed to keep adequate records of the hours worked and pay earned by
24   Plaintiff and Class members, in violation of section 211(c) of the FLSA. 29 U.S.C. § 211(c).
25
             122. Plaintiff and the Class are entitled to recover unpaid overtime wages for up to
26
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     Action Complaint 19                                               936 North 34th Street, Suite 300
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 1   three years before the filing of this lawsuit because Amazon’s violation of the FLSA was

 2   willful.
 3
                                         VII. PRAYER FOR RELIEF
 4
                     WHEREFORE, Plaintiff prays for a judgment against Amazon as follows:
 5

 6   That the Court determine that this action may be maintained as a collective action pursuant to

 7   Section 216(b) of the FLSA;

 8              A.    A judgment in the amount of all unpaid overtime wages owed to Plaintiff and
 9
     the Class;
10
                B.    Liquidated damages in the amount equal to the unpaid overtime wage owed to
11
     Plaintiff and the Class;
12
                C.    Reasonable attorneys’ fees and costs of this action as provided by the FLSA;
13

14   and

15              D.    Such other and further relief as this Court deems appropriate and just.
16                                          VIII. JURY DEMAND
17
     Plaintiff demands trial by jury on all issues so triable as a matter of right by jury.
18

19

20

21

22

23

24

25
26
     Plaintiffs First Amended Nationwide Collective                TERRELL MARSHALL LAW GROUP PLLC
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     Case No.: 2:19-cv-01613-JLR                                      Seattle, Washington 98103-8869
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             Case 2:19-cv-01613-JLR Document 24 Filed 12/30/19 Page 21 of 22




 1

 2
     RESPECTFULLY SUBMITTED AND DATED this 30th day of December, 2019.
 3
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                                                      Paul M. Botros (admitted pro hac vice)
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14                                                    Attorneys for Plaintiff

15

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26
     Plaintiffs First Amended Nationwide Collective                 TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 21                                               936 North 34th Street, Suite 300
     Case No.: 2:19-cv-01613-JLR                                       Seattle, Washington 98103-8869
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 1
                                            CERTIFICATE OF SERVICE
 2
             I hereby certify that on December 30, 2019, I caused to be electronically filed the
 3
     foregoing with the Clerk of Court using the CM/ECF system, which will automatically send
 4

 5   email notification of such filing to the registered attorneys of record.

 6

 7                                                    By: s/Andrew R. Frisch
                                                      Andrew R. Frisch, Esq. (admitted pro hac vice)
 8
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     Plaintiffs First Amended Nationwide Collective                TERRELL MARSHALL LAW GROUP PLLC
     Action Complaint 22                                              936 North 34th Street, Suite 300
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